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                           UNITEI) STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY




   UNITED STATES OF AMERICA
                                                      Mag. No. 13-2550(10) (DEA)
                V.


   MENDEL EPSTEIN, et al,
                                                       BAIL MODIFICATION ORDER


         Defendant SHOLOM SHUCHAT having been
                                                          arrested on a criminal complaint
  charging the defendant with conspiracy to
                                            kidn  ap, in violation of Title 18, United States
  Code, Section 1201(c); and the defendant havi
                                                 ng appeared before the Court for an initial

  appearance on October 10. 2013; and having
                                             been      released to home confinement
  and electronic monitoring subject to the
                                                supervision of Pretrial Services in the
  Eastern District of New York; and with
                                               the consent of the United States:
        IT IS on thisay of December. 2013,

ORDERED that Sholom Shuchat may
                                be release          d from home confinement from 7:00
a.m. until 7:00 p.m. on Thursday, December
                                             12, 2013, to travel to Newark, New Jersey, for
                                                                                               a
job interview at IDT Corporation, a telecomm
                                             unications and technology business located
                                                                                          at
520 Broad Street, Newark, NJ 07102.




                                                     HON. DOUG E. ARPERT
                                                     United States Magistrate Judge
